Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 1of42 Page ID#:5

EXHIBIT A
Case 8:16-cv-01599 Document1-1 Filed 08/30/16

 

CORPORATION SERVICE COMPANY’

Notice of Service of Process

Primary Contact: Robert Scott
Harry Winston, Inc.
718 Fifth Avenue
New York, NY 10019

Page 2 of 42 Page ID #:6

null / ALL
Transmittal Number: 15465608
Date Processed: 08/03/2016

 

Copy of transmittal only provided to: Matt Cohen
Laura Chan
Entity: Harry Winston Inc.
Entity ID Number 0513539
Entity Served: Harry Winston, Inc.
Title of Action: Optikal Noize, Inc. vs. AAB Productions, Inc.
Document(s) Type: Summons/Complaint
Nature of Action: Contract
Court/Agency: Los Angeles County Superior Court, Califomia
Case/Reterence No: BC629095
Jurisdiction Served: . California
Date Served on CSC: a 08/02/2016
Answer or Appearance Due: 30 Days
Originally Served On: csc
How Served: Personal Service
Sender Information: Zein E, Obag}, Jr.

424-284-2401

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s), [t does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
CSC is SAS70 Type II certified for its Litigation Management System.
2711 Centerville Road Wilmington,.DE 19808 (888) 690-2882 | sop @cscinlo.com
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 30f42 Page ID#:7

 

SUN-100
SUNIMONS | oe
(CITACION JUDICIAL) b copy
NOTICE TO DEFENDANT: , CONFORMED CO
. GINAL FILED
(AVISO AL DEMANDADO): | superior Gourtot California
AAB PRODUCTIONS, INC., a New York corporation; (additional County of !.os Annelas
patties form attached) AUG j D({B
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE): Bhertd A. Oarlor, Exooutive OAitoer/Olark
OPTIKAL NOIZE, INC,, a California corporation ‘By! dual Lara, Dapilty

 

 

NOTICE! You have been sued, Tha court may decide agalnat you wilhout your being heard unless you respond wilhln 30 days. Read the Information
below.

You have 30 CALENDAR DAYS after this summons and lagal papers are served on you to fila a wrillan response al ihis court and have a copy
served on the plainiiff, A letier or phone call will not protect you. Your wiilten response musi be In proper lagal (orm If you want the court to hear your
caae. There may be a cour form lhal you can use for your rasponse. You can find thase court forms and more Information at tha California Courts
Online Salf-Halp Canter (inmy.courtinio,ce.gav/selfielp), your counly law library, or the courthouse nearest yau., If you cannot pay the fling fea, ask
the court clark for a fee walver form. Ifyou do nol file your response on time, you may ose the casa by defaull, and your wagas, manay, and property
may be taken withoul further warning from the court.

There are olher legal requramenia, You may want to call en allornay right away. If you do not know an allorney, you may want lo call an allomey
referral service, If you cannot afford an attorney, you may be eligible for frae lagal servicas from @ nonprofit lagal services program. You can locate
(hese nonprofit groups at the Californie Legal Services Wab site (ww./awhelpcalifomia.org), the Callfornla Courls Online Self-Halp Center
(iy. courtinfo,ca.gov/selelp), or by contacting your local court or county bar association. NOTE: The court has a atatulory llen for walved fees and
costs on any se!ttement or asbilrallon award of $10,000 or more Jn a clvll case. The courl’s on must ba pald before (he court will dismiss the casa.
Aino io han demandado. Sino sasponde denlro de 30 dias, (a corla puede decidir en su contra sin escuchar su version. Lea ja informacion a
conlinuacién,

Tiene 30 DIAS DE: CALENDARIO después de qua ie entrequen esta cllecién y papeles fegolas para presentar una respusste por escaito en este
corte y hacer que se entregve une copla al demandante, Una carta o une ilamada telefénica ino fo prolegen, Su respueste por escrilo tlene que estar
on formato legal corracto si desea que procesen su caso en la corte, Es posible que haya un formulario que usted pueda usar pare su respuesta,
Puede encontrar estos formularios da (a corte y més informacién en ef Ceniro de Ayuda de jas Cortes de Califomia (vw.eucorie.ca.gov), en fa
blblloteca de feyas de su condado o en fa corle qua (a quede més cerca, SI no puede pagar fa cuola de prasentacién, pide al secratario de la corle
qua le dé un formulario de exencién ds pago de cuolas, SI no presenta su respuasta & flampo, pueds perder el caso por Incumpiimiento yla corte le

podré quilar su suefdo, dinero y blenes sin mds advertencia.

Hay olros requisilos lagales, Es recomendabie que lame a un abogado inmediatamente, Sino conoce a un abogedo, puede lamer @un servicio de
remision a abogados, Sino puede pagar a un abogedo, es posible que cump/a con tos raquisilos pare oblenor sérvicios legeles gratuitas de un
programa de servicios egales sin fines de (ucro. Puede encontrar esios grupos sin {ines de lucro en el sillo web de Califomle Legal Services,

(www. lawhalpcallfornta.org), en 6! Centro de Ayuda de fas Cortes da California, (wawy.eUcone.ca.gov) o ponléndose en contacto con {a corie o el
colegio de abogados laceles, AVISO: Por lay, fa corte ilane dereciio a ractamer {xs cuotas y ios costos exentos por imponer un gravamen sobre
cualquier racuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o une concesién dé arbilrafa en un caso de derecho civil. Tene que
pagar el gravamen de la corte enles de que la corte pueda desechar el caso,

The name and addrass of the court Is: " TeASE NUMBER:
‘ (ime det

{El nombre y direccién de ta corte es): Superior Court of California, BG 6 g 909 &
County of Los Angeles, 111 N, Hill St. Los Angeles CA 90012

 

 

 

 

 

The name, address, and telephone number of plaintiffs attorney, or plainti without an altorney, Is:
(él nombre, fa diraccién y ei némero de teléfono del abogado dal demandante, o del demandanie que no tiene abogado, es):

Zein E, Obagi, Jr, Obagi Law Group PC 433 N Camden Dr Ste 400 Beverly Hills CA 90210, (424) 284-2401

@
DATE: AUG 0 218 pHiaHinl FLEARTER Gori by wo , Deputy
(Fecha) (Secretario) : (Adjunto)
(For proof of sence of this summons, use Proof of Service of Summons (form POS-070).)
(Para prueba de entrega de esta cltatién use el formufario Proof of Service of Summons, (POS-07 ao).
NOTICE TO THE PERSON SERVED: You are served
(SEAL) 4. £3 as an individual defendant.
2. (J as the pefson suad under the fictitious name of (specify):

9, CZ on behalf of fepecth thoy Win stole They A Med Ya Layootn

co _under: (TZ) cep 4te.t0 (comoration) «==. CCP 446,60 (minor)
Oo rr C=] CCP 416.20 {defunct corporation) . [2] CCP 418,70 (conservatee)
‘ . ‘tT CCP 416.40 (association, or partnership) Cd ccP 446,90 (outhorized person)

‘Ty other (specify): soe - ' .

 

 

 

 

 

OA ta

er oo: by porsonal delivery on (date): © we . naga 1014

, Adopiod nat oo : : PURE Ty he wer : Codec! Civil Procadut $§ 412.20, 465
Fo a Couraiarcatieciee oe oy : oo . SUMMONS, mo : ’ : wor cortnfaes. gor

SUM-100 (Rav. July 1, 2008]
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 4of42 Page ID #:8

SUM-200(A)

 

SHORT TITLE: CASE NUMBER:
|_ Optikul Noize v. AAB Productions, et al,

 

 

 

 

INSTRUCTIONS FOR USE
-> This form may be used as an attachment to any summons If space dogs not permit the listing of afl partles on (he summons.

-) {f thls attachment Is used, Insart the following statement in the plaintlif or defendant box on the summons: "Additional Parttes
_ Attachment form fs allached."

List additlonal partles (Check only one box. Use @ separale page for each lype of party.):
(—) Plaintit Defendant ["_] Cross-Complainant [—] Cross-Defendant

THE FOUNDATION FOR AIDS RESEARCH, a New York not-for-profit corporation, dba amfAR;
HARRY WINSTON, INC., a New York corporation; and DOES 1-100, INCLUSIVE

Page | of |

——_

Pagotolt
Fo iar Goliela ADDITIONAL PARTIES ATTACHMENT

SUM-200{A} (Rev, Jonuaty 1, 2007) Attachment to Summons
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 5of42 Page ID#:9

* ’ SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE (NON-CLASS ACTION)

Case Number

THIS FORM IS TQ BE SERVED WITH THE SUMMONS AND COMPLAINT

Your case js assigned for all purposes to the judge Indicated below. There is more information on (he reverse side of this form.

 

B66 2909

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASSIGNED JUDGE DEPT ROOM ASSIGNED JUDGE DEPT | ROOM
Hon, Kevin C. Brazile i 534 Hon, Elizabeth Allen While 48 506
Hon. Barbara A. Melers 12 636 Hon, Delrdre Hill 49 509
Hon. Terry A, Green 14 300 Hon, Teresa A. Beaudet 50 508
Hon. Richard Frudn “45 307 Hon, Michael J, Raphael st 51
Hon, Rita Miller 16 306 Hon, Susan Dryant-Deason 52 510
Hon. Richard E, Rico 17 309 Hon. Howard L. Halm 53 513
Hon. Stephante Bowlek 19 $i Hon. Ernest M, Hiroshige 54 512
Hon, Dalila Corral Lyons 20 310 Hon. Malcolm H, Mackey 58 515
Hon. Robert L, Hess 24 314 Hon, Michael Johnson 56 514
Hon. Yvette M. Pafazuelos 28 318 Hon. John P, Doyle 58 516
Hon, Barbara Scheper 30 400 Hon, Gregory Keoslan 61 732
Hon, Samantha Jessner 3} 407 Hon, Michael L. Stern 62 600
Hon. Daniel S. Murphy 32 406 Hon, Mark Mooney 68 617
Hon, Michael P, Linfletd 34 408 Hon. Willlam F. Fahey 69 621
Hon, Gregory Alarcon 36 410 Hon, Suzanne G, Bruguera 1 729
Hon, Mare Marmaro 37 413 Hon, Ruth Ann Kwan 72 Tl
Hon, Maureen Duffy-Lowls 38 412 Ron. Rafael Ongkeko W 733
Hon, Ellzabeth Feffor 39 415: Hon. Teresa Sanchez-Gordon 74 735
iton, Dayid Sotelo . MO 4l4 Hon, Gail Ruderman Feuer 78 930
/ Hon. Holly E. Kendig (2 ) 416 ,
Hon, Met Red Recana es 529 Hon, Steven J, Kleiffeld 324 ccw
Hon, Frederick C, Shaller 46 500 wefoistonally Complex
Hon, Debre K, Weintraub 47 507 Ce earn eterainatien 324 | «CCW
*Complex

All non-class action cases designated as provisionally complex are forwarded to tho Supervising Judge of the Comptex Litlgation Program
located In the Central Civil West Courthouse (600 S, Commonwealth Ave. Los Angeles 90005), for complex/non-complex determination
pursuant to Local Rule 3.3(k). This procedure ts for the purpose of assessing whether or not the case Is complex within the meaning of
California Rules of Court, rulo 3.400, Depending on the outcome of that assessment, the case may be reassigned to one of the Judges of the

Complex Litlgation Program or reassigned randomly to a court In the Central District.

Given to the Plaintift/Cross-Complalnant@ttorney of Record Ges 04 2016 SHE

By

R, CARTER, Executive Officer/Clerk

 
 
 
 

, Deputy Clerk

LACIV CCH 1890 (Rev.06/46) - NOTICE OF CASE ASSIGNMENT, Page ( of 2

LASC Approved 05-08 . UNLIMITED CIVIL CASE

 
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 6of42 Page ID #:10

”

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the Chapter Three Rules, as applicnble in the Central District, are summarized for your assistance.
APPLICATION

The Chapter Three Rutes were effective January 1, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE

 

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
judge, or Ifa party has not yet appeared, within 15 days of the first appearance,

TIME STANDARDS
Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:
COMPLAINTS: All complaints shal! be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is
filed. Cross-complaints sha!l be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

A Stattis Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint,
Counse! must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
witnesses,

FINAL STATUS CONFERENCE

The Court will require the parties at a status conference not more than 10 days before the (rial to have timely filed and served ali motions
in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
instructions and special jury verdicts, These matters may be heard and resolved at this conference. At least 5 days before this conference,
counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the case to be read to
the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS

The court will Impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if appropriate on
counsel for the party. .

This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore not a
gunrantee against the Imposition of sanctions under Trial Court Delay Reduction. Careful reading and compliance with the
actual Chapter Rules is absolutely imperative. .

LACIV CCH 190 (Rev.08/16) - NOTICE OF CASE ASSIGNMENT - Page 2 of2
LASG Approved 05-06 UNLIMITED CIVIL CASE
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 7 of 42 Page ID #:11

 

Superlor Court of Callfornla
County of Los Angelos

 

Los Angelos County
Bar Assoclatton
Littgatlan Sectton

Los Angolaa County
Bar Assoclatlon Labor and
Employment Law Soctlon

eee tines
poclatens
TT eles Angedst

Consumer Attorneys
Association of Los Angalos

 

Southorn Callfornla
Defense Counsel

abt jedug
«ncn
Association of
Businoss Trlal Lawyers

 

callfornia Employment
Lawyors Assoctatlon

LACIV 230 (NEW)
LASC Approved 4-14
For Optional Use

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

 

The Early Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations;
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a
manner that promotes economic case resolution and Judicial
efficiency.

The following organizations endorse the goal of
promoting efficiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to
promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases.

Los Angeles County Bar Association Litigation Section?

@ Los Angeles County Bar Association
Labor and Employment Law Section?

Consumer Attorneys Association of Los Angeles}
Southern California Defense Counsel
Association of Business Trial Lawyers?

$Callfornia Employment Lawyers Association
 

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 8 of 42 Page ID #:12

 

 

 

 

 

 

 

 

 

NAME ARO ADORESS OF ATIGAHEY OF PARTY WITHOUT ATTORNRY: STATE DAA NULIDER Reverved for Chah' Fle Stump
TELEPHONE NO,: FAX NO, (Optional);
E-MAIL ADORESS (Optional):
ATTORNEY FOR (Nama):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE AODRESS:

PLAINTIFF:

{ OGFENDANT:
CASE NUMGER:
STIPULATION — DISCOVERY RESOLUTION

 

 

This stipulation fs Intended to provide a fast and Informal resolution of discovery issues
through limited paperwork and an Informal conference with the Court to ald In the

resolution of the issues,

The parties agree that:

1. Prior to the discovery cut-off In this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an Informal Discovery Conference pursuant
to the terms of this stipulation.

2, At the Informal Discovery Conference the Court will consider the dispute presented by parties

and determine whether It can be resolved Informally. Nothing set forth herein will preclude a
party from making a record at the conclusion of an Informal Discovery Conference, either

orally or In writing.

3, Following a reasonable and good falth attempt at an Informal resolution of each issue to be
presented, a party may request an Informal Discovery Conference pursuant to the following

procedures:
a. The party requesting the Informal Discovery Conference will:

i. File a Request for Informal Discovery Conference with the clerk’s office on the
approved form (copy attached) and deliver a courtesy, conformed copy to the

assigned department;
i. Include a brief summary of the dispute and specify the rellef requested; and

li, | Serve the opposing party pursuant to any authorized or agreed method of service
that ensures that the opposing party receives the Request for Informal Discovery

Conference no later than the next court day following the filing.
b, Any Answer to a Request for Informal Discovery Conference must:
|. Also be filed on the approved form (copy altached);

I. include a brief summary of why the requested rellef should be denied;

LACIV 036 (new)
LASG Approved 04/11 STIPULATION — DISCOVERY RESOLUTION
For Optional Use Paga tof3
 

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 9of42 Page ID #:13

 

SHORT TITLE CASE NUMBER:

 

 

lil. Be filed within two (2) court days of receipt of the Request; and

iv. Be served on the opposing ‘party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party recelves the Answer no
later than the next court day following the filing.

¢, No other pleadings, including but not limited to exhibits, declarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for Informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have
been denied. If the Court acts on the Request, the parties will be notified whether the
Request for Informal Discovery Conference has been granted or denled and, If granted,
the date and time of the Informal Discovery Conference, which must be within twenty (20)
days of the filling of the Request for Informal Discovery Conference.

e. If the conference Is not held within twenty (20) days of the filing of the Request for
Informal Discovery Conference, unless extended by agreement of the pariles and the
Cour, then the Request for the Informa! Discovery Conference shall be deemed to have

been denied at that time.

4, If (a) the Court has denled a conference or (b) one of the time deadlines above has expired
without the Court having acted or (c) the Informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the tima for making a motion to compel or other
discovery motion is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
fillng of the Request for Informal Discovery Conference, whichever Is earlier, unless extended

by Order of the Court,

It is the understanding and intent of the partles that this stlpulation shall, for each discovery
dispute to which It applies, constitute a writing memorializing a "specific later date to which
the propounding [or demanding or requesting] party and the responding party have agreed in
writing,” within the meaning of Code Civil Procedure sectlons 2030,300(0), 2031.320(c), and

2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate rellef, including
an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate thie stipulation by giving twenty-one (21) days notice of Intent to
terminate the stipulation.

8, References to “days” mean calendar days, unless otherwise noted, If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court hollday, then the time
for performing that act shall be extended to the next Court day.

 

CASO Atmraved o4/t4 STIPULATION — DISCOVERY RESOLUTION
For Opilonal Use Page 2 of 3

 
Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 100f 42 Page ID #:14

 

SHORT TMS: CASH HUNGER:

 

 

 

 

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

Date:
>
(IPE OR PRINT NAME} {ATTORNEY FOR PLAINTIFF)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENOANT)
Date:
>
. (ivPE OR PAINT NAME} er LATIORNEY FOR DEFENDANT) SOS
Date:
>
TYPE OR PRINT NAME) SSCS ATTORNEY FOR DEFENDANT) OOCS~S~S~S
Date:
>
{TYPE OR PRINT NAME} {ATTORNEY FOR_____. CS
Date:
>
a “TTVPE OR PRINTNAME)OSOC™~S (ATTORNEY FOR
Date:
>
(TYPE OR PRINT NAME) (ATTORNEVFOR.
LACIV 036 (new;
LASG ppproved C4 1 STIPULATION — DISCOVERY RESOLUTION

For Opiional Use Page 30f3
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 11o0f42 Page ID #:15

 

NANG AND ADORESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUUBER Rererved ior Geko Fie Bure

 

 

TELEPHONE NO,! FAX NO. (Optional):
EsMAIL ADDRESS (Optlonal):
ATTORNEY FOR (Name):

| SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

Y GOURTHOUSE ADDRESS:

PLAINTIFF:

 

 

 

DEFENDANT:

 

UMGER;

 

STIPULATION — EARLY ORGANIZATIONAL MEETING

 

 

 

This stipulation Is Intended to encourage cooperation among the parties at an early stage In
the litigation and to assist the parties In efficient case resolution.

The partles agree that:

1. The partles commit to conduct an initlal conference (in-person or via teleconference or via
videoconference) within 15 days from the date this stipulation Is signed, fo discuss and consider
whether there can be agreement on the following:

a, Are motions to challenge the pleadings necessary? if the Issue can be resolved by
amendment as of right, or if the Court would allow leave to amend, could ah amended
complaint resolve most or all of the Issues a demurrer might otherwise raise? if so, the partles
agree to work through pleading Issuas so that a demurrer need only raise issues they cannot
resolve, Is the Issue that the defendant seeks to ralse amenable to resolution on demurrer, or
would some other type of motion be preferable? Could a voluntary targeted exchange of
documents or Information by any party cure an uncertainty in the pleadings?

b, Initial mutual exchanges of documents at the “core” of the litigation, (For example, In an
employment case, the employment records, personnel file and documents relating to the
conduct In question could be considered “core.” In a personal Injury case, an incident or
police report, medical records, and repalr or maintenance Facords could be considerad

*core.”);
c, Exchange of names and contact Information of wilnesses;

d, Any Insurance agreement that may be available to satisfy part or all of a Judgment, or to
indemnify or relmburse for payments made to satisfy a Judgment;

6. Exchange of any other information that might be helpful to facilitate understanding, handling,
or resolution of the case In a manner that preserves objections or privileges by agreement;

f. Controlling Issues of taw that, if resolved early, will promote efficiency and economy in other
phases of the case. Also, when and how such issues can be presented to the Court;

g. Whether or when the case should be scheduled with a settlement officer, what discovery or
court ruling on legal Issues Is reasonably required to make settlement discussions meaningful,
and whether the partles wish to use 4 sitting Judge or a private mediator or other options as

 

LAGIV 220 (Rav 02/16)
LASC Approved 04/11 = STIPULATION ~ EARLY ORGANIZATIONAL MEETING

For Optional Use Page ( of2
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 12 o0f 42 Page ID #:16

 

 

SHORT IME CASE NUMBER

 

 

 

discussed In the “Alternative Dispute Resolution (ADR) Information Package” served with the
compleint;

h, Computation of damages, including documents, not privileged or protected from disclosure, on
which such computation Is based; ‘

i, Whether the case Is suitable for the Expedited Jury Trial procedures (see Information at
www. lacourt.org under “Civi!' and then under “General Information"),

2, The time for a defending party to respond to a complaint or cross-complaint will be extended

to for the complaint, and __ for the cross-
(INSERT DATE) (INSERT DATE)

complaint, which is comprised of the 30 days to respond under Government Code § 68618(b),
and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having

_ been found by the Civil Supervising Judge due to the case management benefits provided by
this Stipulation. A copy of the General Order can be found at www,lacourtorg under "Clvif’,
click on “General Information", then cllck on “Voluntary Efficient Litigation Stipulations’.

3. The parties will prepare a joint report titled “Jolnt Status Report Pursuant to Initlal Conference
and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
results of their meat and confer and advising the Court of any way It may assist the pariles’
efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
the Case Management Conference statement, and file the documents when the CMC
statement Is due.

4. References to “days” mean calendar days, unless otherwise noted, If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

 

 

 

Date: .
t > __
(TYPE OR PRINT NAME) : (ATTORNEY FOR PLAINTIFF)
Date:
_ >
{TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date;
>
(TYPE OR PRINT NAME} (ATTORNEY FOR DEFENDANT)
_ Date: >
_ a
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Dats; .
munud a > rn EAA A
(TYPE OR PRINT NAME) {ATTORNEY FOR a
Date;
>
(TYPE OR PRINT NAME) (ATTORNEY FOR ee)
Date: '
__ > _ .
{TYPE OR PRINT NAME) (ATTORNEY FOR __)
CAGIY 720 fev 28) STIPULATION — EARLY ORGANIZATIONAL MEETING page 2al2
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 13 0f 42 Page ID #:17

5 1

 

TAKE AND ADDRESS OF ATTORNEY OR PARTY VATHOUT ATTORHEY:

JELEPHONE NO.:
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Nama):

 

ATATE BAR HUMBER

 

FAX NO. (Opuonal):

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF

LOS ANGELES

 

COURTHOUSE ADDRESS:

PLAINTIFF;

 

DEFENDANT:

Reveceed he Chark's FT ¢ Stamp

 

 

INFORMAL DISCOVERY CONFERENCE

 

 

 

1. This document relates to:

(pursuant to the Discovery Resolullon Stipulation of the partles)

(] Request for Informal Discovery Conference

C] Answer to Request for Informal Discovery Conference
2, Deadline for Court to decide on Request:

the Request).

3. Deadline for Court to hold Informal Discovery Conference:

days following filing of the Requaal).

 

(near dale 10 calendar days following fillng of

(Insert dale 20 calendar

4, For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
Request for Informal Discovery Conferance, briefly describe why the Court should deny

the requested discovery, Including the facts and legal arguments at Issue.

 

 

 

 

 

LAGIV 084 (new) INFORMAL DISCOVERY CONFERENCE
LASG Appravad 04/11 (pursuant to the Discovery Resolution Stipulation of the parties)

For Optional Uae
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 14 o0f42 Page ID #:18

 

FUJI AO ADDRESS OF ATTORNEY OR PARTY WATHOUT ATTORNEY: STATE RAR HUMBER Reeavad ke Gluk's Fle Blary

 

 

TELEPHONE NO: . FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Nemo):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

 

 

PLAINTIFF:

 

DEFENDANT:

 

CASERUMBER:

 

STIPULATION AND ORDER - MOTIONS IN LIMINE

 

 

 

This stipulation Is intended to provide fast and Informal resolution of evidentiary
Issues through diligent efforts to define and discuss such issues and limit paperwork,

The parties agree that:

1. Atleast _ days before the final status conference, each party will provide all other
parties with a list containing a one paragraph explanation of each proposed motion In
limine. Each one paragraph explanation must Identify the substance of a single proposed
motion in {imine and the grounds for the proposed motlon.

2. The parties thereafter will meet and confer, either In person or via teleconference cr
videoconference, concerning all proposed motions in limine. In that meet and confer, the

parties will determine:

a. Whether the parties can stipulate to any of the proposed motions. If the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be brlefad and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
Joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side's portion of the short Joint
statement of issues may not exceed three pages, The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short Joint statement of
Issues,

3. All proposed motions In limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the Callfornla
Rules of Court and the Los Angeles Superior Court Rules.

 

V O76
tAscAvevedo4tt STIPULATION AND ORDER — MOTIONS IN LIMINE

For Cptlonal Use Paga 1 0f2
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 15o0f42 Page ID #:19

 

 

SHOAL NILE: CASE NUMBER:

 

 

 

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

 

 

 

Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
>
(TYPE OR PRINT NAME) ‘ (ATTORNEY FOR OEFENDANT)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Data:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
: >
(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
>
(TYPE OR PRINT NAME) {ATTORNEY FOR )
THE COURT SO ORDERS.
Date:

 

 

JUDICIAL OFFICER

 

CASO Appraver O4/t4 STIPULATION AND ORDER — MOTIONS IN LIMINE Paye 2of?
Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 16 of 42 Page ID #:20

 

SHORT VTLE:

 

Oplikal Nolze, Inc. v, AAB Productions, Inc., et al.

CASE NUMBER

 

 

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
.(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

Bey 9s

 

 

 

This form is regulred pursuant to Local Rule 2.3 In all now clvll case filings In the Los Angeles Supertor Court. ,

 

 

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type In
Column A that corresponds to the case type Indicated In the Civil Case Cover Sheet,

Stap 2: tn Column B, check the box for the type of action that best describes the nature of the case.

Step 3: tn Column C, circle the number which explains the reason.for the court fillng location you have

chosen.

 

 

Applicable Reasons for Choosing Court Filing Location (Column C)

 

 

1. Class actions must be filed In the Stantey Mosk Courthouse, Central District, —. Location whara patitlonar rasides.
8. Locatlon whereln defendant/respondent functions wholly,

2. Permissive filing in conteal district.
3. Location where cause of action arose.
4, Mandatory personal Injury filing In North District.

§, Location where performance requirad or dafendent resides,

6, Locatlon of property or permanently garaged vehicle,

9. Locallon where one or more of (he partes reside.

40. Location of Labor Commlssloner Office.

11. Mandatory filing location (Hub Cases = unlawful detainer, limited

non-collection, limited collection, or personal Injury),

 

  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Applicable Redbone -,
* See Slap 9 Algve.
Auto (22) 0 A7100 Motor Vehicle - Parsonal Injury/Property DamageWronglul Dealh 1,4,41
*
$ = Uninsured Motorist (46) 1 A7110 Personal InjuryiPropandy DamageMrongful Dealh— Uninsured Motoilst | 1,4, 11
1) AG070 Asbastos Properly Damage 4,1
Asbestos (04)
= t O A?v221 Asbastos - Personal tnjuryWronglu) Death iu
oa
E Producl Liability (24) O A7260 Product Liability (not ashasios of loxic/environmantal) 4,4,14
a.
2 © A7210 Medical Malpractice - Physiclans & Surgeons 14,91
= , Medical Malpractice (45) 14,44
ae GO A7240 Other Professional Heallh Cara Malpractice oe
e £
B= £1 A7250 Pramisea Liability (a.g., sllp and fal)
a & Olher Personal ai
5 E Injury Property © A7230 Intentional Bodlly Injury/Property DamageWrangful Death (4.9., $4.44
& a Damage Wrongful assauil, vandallam, alc.) _
Death (23) 11 A7270 Intenttonal inf_iction of Emotlonst Distress 4.11
O A7220 Olher Personal injury/Properly Damage/Wrongful Dealh 1.4.11
LACIV 109 (Rov 2/16) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
AND STATEMENT OF LOCATION Page 1 of 4

LASC Approved 03-04
 

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 17 of 42 Page ID #:21

 

SHORT TITLE:

Optikal Noize, inc. v, AAB Productions, Inc., et al.

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AG029 Other Commercial/@usiness Tart (not fraud/breach of contract)
*
ge Civil Righis (08) O AGO00S Clvil Rights/Digerlmination 1, 2,3
es
a a Poefamatton (13) © AGO10 Defamation (slanderflbs) 1,2,3
a
s
= S Fraud (16) £3 AGO13 Fraud (no contract) 1,23
e
Se
BS 1) AGO17 Legal Malpractice 1,2,3
Professional Negligence (26)
so £ ( A@O80 Other Professlonal Malpractice (not medical or legal) 1,2,3
23
Other (35) © AG026 Other Non-Personal injury/Properly Damage tort 1,2,3
" Wrongful Termminatton (36) | A6037 Wrongful Terminalion 1,2,3
é 11 A6024 Olhar Employment Complalni Case 1,2,3
a Other Employment (15)
& (1 AG109 Labor Commissioner Appagla 10
O Aso04 Breach ; Ronta’Lease Contract (not untawiul delainer or wrongful 26
eviction ,
Broach :
foac of Contfacy Warranty © AG008 ContractWarranty Breach -Selter Plaintiff (no fraud/negligence) 2,6
(nol insurance) CO AG019 Nagligant Breach of Contrac/Warranly (no fraud) 125
i A028 Othar Breach of ContractWarranly (not fraud or negkgenca) 1,25
$ C1 A&002 Collaciians Case-Seller Plalniilf 5, 6, 14
& Collactions (09)
é © A6012 Other Promissory Noto/Calleciions Case 5,41
© A034 Collections Case-Purchased Debt (Charged Off Consumer Deb! 5,6, 11
Purchased on or afler Jonvary 1, 2074)
Insurance Coverage (18) O A6015 Insurance Coverage (not complex) 1,2,6,8
© A6008 Contractual Fraud 1,2,3,5
Other Contract (37) DO AG031 Torilous Interfarence 4,2,3,6
 A6027 Other Contract Dispule(not breaclvinsurance/fraud/negilgance) 4,2,3,8,9
cn rs a SS si SP SS PP CNP ra See
» er enemnalen (ay DO A7300 Eminent DomalnCondamnalion Number of parcels 2,6
& Wrongful Eviction (33) Ct A8023 Wrongful Evictton Case 2,6
2
a
F O A018 Mortgage Foreclosure 2,8
m Olher Real Property (28) (1 A6032 Quiet Title , 2,6
1 A080 Other Real Proparty (not eminent domain, landlordienant, foreclosure) | 2.6
a commentato? en eto Sr PS iy
. Uniawtul pee commercia C AG021 Untawlul Detalner-Commorclel (not drugs or wrongful evicilan) 8,14
&
3 Untawtul Dotarnar Residential ( AGO20 Unla\ul Detoinor-Restdentla? (not drugs or wrongful eviction) 8, 11
ZB Unlavdul Detainer-

5 Post-Forectosure (34)  A6020F Untavdul Deteiner-Post-Foreclosute 2,6, 11
5 Unlawius Datainer-Drugs (398) | O A022 Unlawtul Detalner-Drugs 2,6, 11
LAGIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
LASC Approved 03.04 AND STATEMENT OF LOCATION Page 2 of 4

 
 

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 18 of 42 Page ID #:22

 

SHORT TITLE:

Optikal Noize, Inc. v, AAB Producttons, Inc., at al.

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Whe
Assel Forfalture (06) C) AG108 Asset Forfellure Case 2,3,6
= Peilllon re Atbitratlon (11) © A6116 Peilltion to Compel/Confirm/Vacale Asbilration 2,5
a
& © A6151 Wat- Administraliva Mendamus 2,8
my Wall of Mandate (02) [3 A6152 Wat- Mandamus on Limited Court Case Matter
3 O AG163 Writ- Other Limited Court Case Review
Other Judicial Review(39) | C AG160 Other Wilt Judicial Review 2,8
c AntltrusUTrade Regulation (03) | ABOOd Anilirusl/Trade Regulallon 1,2,8
oO
vei
a Construction Defect (10) O) AG007 Construction Defect 1,2,3
3 Glalme ioe ee To C1 A8008 Clatms involving Mase Tott 1,2,6
Qo
E
oo Securllias Litigation (26) G A6035 Securillas Ligation Caso 1,2,8
a Toxle Tort
S Environmental (30) © Ad036 Toxle Tort/Environmental 1,2,3,8
‘>
& hone Commie Ouse (ai) 1 AG014 Insurance Coverage/Subsogallon (complex case only) 1,2, 6,8
O AG141 Sister Stale Judgment 2,5, 14
z ¥ © AG160 Absiract of Judgment 2,6
qi E Enforcement & A6107 Confession of Judgment (non-domasitc relations) 2,9
o
B 3 of Judgment (20) ( AG140 Administrative Agency Award (nol unpatd toxes) 2,8
ome ‘
“os CY AG114 Pelltlon/Certiicale for Eniry of Judgment on Unpald Tax 2,8
G A112 Olher Enforcement of Judgment Casa 2,8, 9
RICO (27) 1) A6033 Rackelearing (RICO) Case 1,2,8
8
c
i g C} A6030 Declaratory Relat Only 1,2,8
Zi E Olher Complaints ©) A040 injunctive Rellef Only (not domesile/harassment) 2,8
a 5 (Not Specifiad Above) (42) | ry Ag014 Other Commercial Complaint Case (non-tor/non-complex) 1,2,8
= 6 O AsG00 Other Civil Complalal (nonort/non-complex) 1,2,8
ca SPS un Sih PC CO Nr ST PS
———
Peay © A68143 Parnership and Corporate Governance Casa 2,8
QC A6121 Civil Harassment 2,9,9
32 C AG123 Workptace Harassment 2, 3,0
é y ther Patitons (Nol CO AG124 ElderDependent Adult Abuse Case 2,3,9
3 S Speclflad Above) (43) C) A6180 Election Contest 2
56 { AG110 Pelilion for Change of Name/Change of Gender 27
O A6170 Paliilon for Reliof from Late Claim Law 2,4,8
©} AG100 Olher Cluil Palition 2,9
LACIV 109 (Rev 2/16) CIVIL CASE GOVER SHEET ADDENDUM Local Rule 2.3
AND STATEMENT OF LOCATION Page 3 of 4

LASC Approved 03-04

 
Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 19 of 42 Page ID #:23

 

SHORT TITLE:
**" Optikal Noize, Inc. v, AAB Productions, Inc., et al. CASE NUNBER

 

 

 

Step 4: Statement of Reason and Address; Check the appropriate boxes for the numbers shown under Column C for the
type of actlon that you have selected, Enter the address which Is the basls for the fillng location, Including zip code,
(No address required for class action cases),

 

AODRESS:
REASON: §80 Terrill Ave.

4 1.42.03.74.¥5.06.7, 18.0) 9.010091.

 

 

 

 

 

 

 

CITY: / STATE: ZIP CODE:
Los Angeles CA 90042
Step 5: Certification of Assignment: I certify that this case is properly filed In the Central District of

 

the Superlor Court of California, County of Los Angeles [Code Clv. Proc., §392 et seq., and Local Rule (1}(E}}.

 

 

COMMENCE YOUR NEW COURT CASE:

4, Onginal Complaint or Petition,

2, If filing a Complaint, a completed Summons form for issuance by the Clerk.
3, Civil Case Cover Sheet, Judicial Council form CM-010.
4

' Cll 5" Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.

5, Payment in full of the filing fee, unless there is court ordar for walver, partial or scheduled payments.

A signed order appointing the Guardian ad Litem, Judicial Council form C!V-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to Issue a summons.

7. Additional coples of documents to be conformed by the Clerk. Copies of the cover sheel and this addendum
must be served along wilh the summons and complaint, or other initiating pleading In the case.

 

LACIV 109 (Rev 2/18) CIVIL CASE GOVER SHEET ADDENDUM Local Rule 2,3
LASC Approved 03-04 AND STATEMENT OF LOCATION ~ Page 4 of 4

 
 

P, PC.

ATTORNEYS AT Law

OBAGI LAW GROU

Case 8:16-cv-01599 Document 1-1 Filed 08/30/16

uo oO NS DO UH BB WY WN mo

Vv NM YY KW
ey ans SSeS eESERAaEaR SR se

Zein E, Obagi, Jr. (State Bar No. 264139)

zo@obagilaw,com

Ben B., Jakovijevic (State Bar No. 301523)

bbj@obagilaw.com

OBAGI LAW GROUP,P.C.

433 North Camden Drive, Suite 400
Beverly Hills, CA 90210-4408
Telephone: (424) 284-2401

| Facsimile; (310) 734-1814

Attorneys for Plaintiff
OPTIKAL NOIZE, INC,

Page 20 of 42 Page ID #:24

CONFORMED COPY
ORIGINAL FILED
Superior Court of Calitornta
Gounty of Lns Anneles

AUG O11 2016

Short R. Cartor, Exovutive Olllear/Glork
By! Jud) Lara, Deputy

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

OPTIKAL NOIZE, INC.,
a California corporation,

Plaintiff,
Vv.

AAB PRODUCTIONS, INC., a New
York corporation; THE FOUNDATION
FOR AIDS RESEARCH, a New York

not-for-profit corporation dba amfAR;
HARRY WINSTON, INC., a New York
corporation: and DORS 1-100,
INCLUSIVE

Defendants.

Be 88 09
Case No:: BG ® 8
COMPLAINT FOR:

1. BREACH OF EXPRESS ORAL
AND WRITTEN CONTRACT

2. BREACH OF EXPRESS ORAL
CONTRACT

3. BREACH OF IMPLIED-IN-
FACT CONTRACT

4, INTENTIONAL
INTERFERENCE WITH
PROSPECTIVE ECONOMIC
RELATIONS

5. NEGLIGENT INTERFERENCE
WITH PROSPECTIVE
ECONOMIC RELATIONS

6. MISAPPROPRIATION OF
TRADE SECRETS (CAL, CIV.
CODE § 3426 ET SEO.)

7. BREACH OF FIDUCIARY
DUTY

8. RESTITUTION/UNJUST
ENRICHMENT

9, PROMISSORY ESTOPPEL

JURY TRIAL DEMANDED
UNLIMITED JURISDICTION

 

 

 

 

Ontikal Noize, Inc. vy. Harry Winston, Ine. et al.

Se

COMPLAINT

 
 

* ATTORNEYS AT LAW:

OBAGI LAW GROUR, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 21 o0f 42 Page ID #:25

—,

Oo S&F JN DH UH B&B WY Bb

Nb NY NY KH YH Ww aa ,
BRRRRKBREBSERREEBH oS

 

 

Plaintiff Optikal Noize, Inc. hereby alleges against as follows:
I. NATURE OF ACTION

1. This action arises out of defendants’ failure to pay Plaintiff the fee it is
owed for providing creative consulting services, Plaintiffs services were
instrumental in establishing a multi-million dollar partnership between defendants,
but the final deal was agreed to behind Plaintiff's back and without rendering any
payment for services rendered and contractually agreed upon.

2. Defendants AAB Productions and amfAR, on the one hand, and Harry
Winston, Inc., on the other, were introduced to one another as having mutually
appealing opportunities and resources for sponsorship, respectively, through
Plaintiff.

3. Defendant The Foundation for AIDS Research (amfAR), with the
assistance of its agent Defendant AAB Productions, was seeking sponsors for its °
charity galas. Defendant Harry Winston, meanwhile, was exploring sponsorship
and brand integration opportunities with Plaintiff.

4, Plaintiff, in order to protect its own interests prior to introducing the
parties, AAB into a non-disclosure agreement on behalf of itself and amfAR. All
parties involved herein agreed that Plaintiff would receive a consulting fee based on
the final deal’s value, in exchange for providing a deal lead and serving as the
intermediary between the two sides.

5, Plaintiff did introduce and facilitate negotiations between Harry
Winston and amfAR regarding long-term sponsorship opportunities, including a
multi-year 1,25 million dollar proposal, However, the Defendants then broke their
promises to Plaintiff by surreptitiously engaging in direct negotiations and agreeing
to a 53-million dollar partnership deal, all without Plaintiff or paying Plaintiff's
commission. They have refused to pay Plaintiff anything and have rebuffed
Plaintiff's efforts to resolve the dispute without litigation. This lawsuit seeks

Optikal Noize, Ine. v. Harry Winston, Inc. ef al. -2-
COMPLAINT

 
 

OBAGI Law GROUP, B.C.
' ATTORNEYS AT LAW

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 22 of 42 Page ID #:26

Oo CO SI DB A BB W NH Ke

Nn DO NH NY NHN FT
2 uUak BSORXF BS SERRE BAEBH AS

 

 

redress for the consulting fees owed, along with other damages that have resulted
from the defendants’ circumventing deal.
Tl. PARTIES

6, Plaintiff Optikal Noize, Inc. (Plaintiff or ON) is a corporation
incorporated and existing under the laws of the State of California with its principal
place of business in Los Angeles, California. ON is a creative consulting agency
that helps integrate premium brands into special projects and events,

7, Nancy Epao Cihlar (Epao) is ON’s CEO and Andreas Kutzer (Kutzer)
is ON’s Vice President. Both worked in these capacities at all times relevant to this
lawsuit,

8, Defendant Harry Winston, Inc. is a New York corporation doing
business in California, Harry Winston, which is owned by the Swiss company, The
Swatch Group Ltd. (TSG), sells luxury jewelry and watches. Fadi Ghalayini is, and
at all times relevant to this lawsuit was, Harry Winston’s Global Vice President of
Sales,

9, Defendant The Foundation for AIDS Research dba amfAR is and was,
at all times relevant to this lawsuit, an international nonprofit organization
headquartered in New York which holds fundraisers and events in California,

Defendant amfAR is dedicated to AIDS/HIV research, education, and advocacy.

-Mr. Shameek Bose was at all times relevant to this lawsuit amfAR’s Business

Partnerships Manager.
10. Defendant AAB Productions, Inc. (“AAB”) is and was, at all times

relevant to this lawsuit, a New York event planning and production corporation
doing business in California, Andrew Boose (“Boose”) is, and at all times relevant
to this lawsuit was, AAB’s CEO.

11. Defendants Harry Winston, amfAR, and AAB and their respective

agents are sometimes collectively referred to in this Complaint as the defendants or

 

Defendants.
Optikal Noize, Inc. v. Harry Winston, ine., et al. 3.

COMPLAINT

 
 

ATTORNEYS AT Lat

OBAGI LAW GROUP. PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 23 0f 42 Page ID #:27

—

NY MBO NO NO WH tO
eo Uack SS SB2ePS Se RW AaREBHE OS

ome YN DH HD Bw Bw

 

 

12, Other wrongful acts and/or omissions constituting breach by the
Defendants are presently unknown, but will be proven at trial. If necessary, ON
may seek Jeave of court to amend this complaint once such additional facts are
ascertained through discovery.

13. Plaintiff ON is currently unaware of the true names and capacities of
defendants sued herein as Does 1 through 100, inclusive, and therefore sues
defendants by such fictitious names. ON will amend this Complaint to allege their
true names and capacities when ascertained. ON alleges that each of the fictitiously
named defendants is responsible in some manner for the occurrences herein alleged,
and that ON’s damages were proximately caused by those defendants. Each
reference in this Complaint to “defendant”, “defendants”, “Defendants” or a
specifically named defendant, refers also to all defendants sued under fictitious
names.

14, At all times herein mentioned, each of the Defendants, including all
defendants sued under fictitious names, was the agent and/or employee of each of
the remaining defendants, and in doing the things hereinafter alleged, was acting
within the course and scope of his/her/its.agency and/or employment.

Il. JURISDICTION & VENUE

15, The Superior Court of California for the County of Los Angeles has
jurisdiction over this matter, and is one correct venue for this action, because the
Defendants engaged Plaintiff, a California corporation based within the County of
Los Angeles, to provide consulting services, which services were rendered in the
County of Los Angeles. Moreover, pursuant to a non-disclosure agreement,
Defendants amfAR and AAB agreed that Los Angeles would serve as the exclusive
venue in event of dispute. Also, on information and belief, each of the Defendants
has recurring business activity in the County of Los Angeles.

16. The amount of damages alleged in this controversy falls within the
unlimited jurisdiction of this court.

Optikal Noize, Ine. v. Harry Winston, Inc. et al. <4.
COMPLAINT

 
 

OBAGI LAW GROUP, PC.

ATTORNEYS AT_LAW

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 24 of 42 Page ID #:28

uo Oo NO AH BR BW ND

YP NY NY YN NY NY WN —
223 Aw RODS £§ FGeoAaAaAR BHA S

 

 

17. The Superior Court of Los Angeles County has personal jurisdiction
over each of the defendants herein because defendants were aware that ON was a
California corporation, doing business in California, and indeed knew that the
performance of their obligations to ON was due in California,

IV. GENERAL ALLEGATIONS
A. The NDA between ON and AAB on behalf of amfAR

18, Plaintiff ON is a creative consulting agency that specializes in
integrating luxury brands into international charity and entertainment events through
sponsorships or other support.

19, Onor about April 19, 2013, ON contacted amfAR’s Shameek Bose and
AAB’s Andrew Boose to discuss sponsorship opportunities for amfAR’s
international charity galas, Discussions continued between ON, AAB, and amfAR
through the end of April 2013, but no deal came to fruition during this timeframe.

20. On September 20, 2013, ON’s Andreas Kutzer sent an email to AAB’s
Boose to resume discussions with amfAR. .

21. In order to safely discuss details about sponsorship and partnership
opportunities without compromising ON’s confidential business information or
services, ON informed amfAR’s Bose that it required amfAR to covenant not to
disclose or act on any opportunity without first obtaining ON’s consent or paying
ON’s consulting fee,

22. In discussing amfAR’s partnership opportunities, Bose directed ON to
communicate directly with Boose at AAB. AAB was also listed on amfAR’s
website as amfAR’s exclusive agent for sponsorships and partnerships,

23. On October 2, 2013, a non-circumvention, non-disclosure and

 

compensation agreement (“NDA”) was executed between Epao and Kutzer on
behalf of ON, and Boose on behalf of AAB and amfAR.
24, The NDA explicitly contemplates that its purpose is to start a working

business relationship in which ON would introduce and engage a potential sponsor

Opittkal Nolze, Inc. v, Harry Winston, Inc. et al. “5.
, COMPLAINT

 

 
 

OBAGI LAW GROUB, PC.

ATTORNEYS AT LAW

Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 25 of 42 Page ID #:29

—

ou 6&2 NHN AWA Ww BD WwW to

nv NY NY NY NY NY WV
eu an eB S8 PSSST AR BRREBSERZS

 

 

for AAB’s production of amfAR galas and events in exchange for a fee. The NDA
expressly required AAB to keep all information about ON’s business sources and
affiliates strictly confidential, unless AAB had a pre-existing relationship with the
source, or unless ON gave written authorization.

B. Harry Winston's Independent Engagement of ON

25. Separately, ON had been presenting sponsorship opportunities to TSG
for several years. In or about 2013, Harry Winston, a subsidiary of TSG, engaged
ON to provide consulting services and use ON’s industry expertise to find
sponsorship opportunities. As discussed below, Harry Winston was aware of and
agreed to pay ON’s consulting fee. The fee was contingent and would be paid by
Harry Winston in the event an opportunity presented by ON was pursued and
ultimately consummated by Harry Winston.

26, On September 26, 2013, ON’s Epao sent an email to Harry Winston’s
Ghalayini regarding two potential sponsorship opportunities for Harry Winston.
The first opportunity pertained to international galas presented by The Eva Longoria
/ The Global Gift Foundations (together, “GGF”). The second opportunity
pertained to galas presented by amfAR.

27. Prior to this email, Epao and Ghalayini had met over the phone, and the
parties spoke numerous times after this email through a variety of means of
communication. Neither Ghalayini nor anyone else at Harry Winston ever cited a
pre-existing relationship with amfAR. Nor did they indicate in any way whatsoever
that they were already in negotiations with amfAR — which would have been the
natural reaction of any party who was hiring a consultant to introduce it to new
consulting opportunities, but instead was introduced to an old one.

28. On October 1, 2013, Ghalayini sent ON an email stating that Harry
Winston was interested in serving as the exclusive jewelry and watch brand for four
amfAR gala events totaling $900,000, and asking ON “Please also see here what can

be done..., This is a long term partnership and we would like to make it work.”

Optikal Nolze, Inc, v, Harry Winston, Inc., et al. -6-
COMPLAINT

 

 
 

TROUP, P.C.
ATTORNEYS AT LAW

OBAGI LAW GR

Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 26 of 42 Page ID #:30

oOo Oo NY WA DH HB WD KD mm

YN YY Ww —
ea ac BBR S SSE RRR REESE OS

 

 

29. The following day, ON and AAB executed the NDA, and ON took
steps to form a partnership between Harry Winston and AAB/amfAR (the “amfAR
Partnership”).

30. At various stages, ON alternated communications between AAB and
amfAR regarding amfAR events, For example, on October 9, 2013, AAB’s Boose
sent Kutzer an email regarding, among other opportunities, a tentatively proposed
agreement for sponsorship of an amfAR India event in November 2013.

31, Then, on October 15, 2013, amfAR’s Bose and Kutzer exchanged
several emails, including an email attaching a sample contract outlining amfAR’s
terms for a sponsorship with Harry Winston. Bose advised in the email message
that, “[o]nce you can confirm 100% the ‘partnership with Harry Winston we can
discuss any commissions.” AAB was not copied on the October 15 email exchange;
apparently amfAR was ignorant of the agreement AAB had made with ON,

C. The GGF-Harry Winston Partnership

32, While ON was developing Harry Winston’s opportunity to partner with
amfAR, it simultaneously developed and ultimately succeeded in bringing Harry
Winston together with GGF for a partnership worth $600,000 (the “GGF

 

Partnership”).
33. In the lead-up to and during the GGF Partnership, ON repeatedly

explained its fee structure to Harry Winston, including in a September 30, 2013
email from Epao to Ghalayani stating that: “Should Harry Winston enter into this
agreement, Optikal Noize Inc. would humble [sic] ask for an agency fee of 10% of
the final budget.”

34. On November 29, 2013, Epao emailed Ghalayani ON’s invoice for its

ten percent consulting fee for services provided in connection with the GGF

 

Partnership. Harry Winston — admitting its obligation to ON and demonstrating its
awareness of the terms of the parties’ agreement — timely paid this consulting fee,

which was $60,000, or ten percent of the $600,000 sum.

Optikal Noize, ine. vy. Harry Winston, Ine, e¢ al. -7-
COMPLAINT

 

 
 

OBAGI LAW"GROUP, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 27 of 42 Page ID #:31

uo SN WN HA BR We! He

DPN Pp Y WD & — _

 

 

35. Subsequently, ON discovered that GGF intentionally misrepresented its
charity status in the United States to both ON and Harry Winston, and that the
founder and CEO of The Global Gift Foundation had a history of international
financial fraud.

36. Although ON was as ignorant as Harry Winston of GGF’s material
misrepresentations, Epao notified Ghalayini in writing of GGF’s actions. This was
done in order for ON to maintain complete transparency with its client.

37, On December 10, 2013, Epao met in New York with members of the
Harry Winston marketing teams, including Ghalayini. The parties mutually agreed
to take steps to end the GGF Partnership, and discussed details regarding the amfAR
opportunity. .

D. The amfAR-Harry Winston Partnership

38. On February 14, 2014, Kutzer sent Bose an email proposal expressing
Harry Winston’s interest in serving as the exclusive jewelry and watch sponsor for
amfAR for two event series for a minimum of two years (2015 and 2016). Kutzer’s
email included proposed sponsorship levels for eight events totaling $1.25 million.

39, The proposal detailed that, if amfAR agreed to Harry Winston’s
proposal, ON would send a Letter of Interest/Intent from Harry Winston to amfAR,
and the sides would work toward finalizing the agreement. Once a final draft of the
agreement was consummated, ON would schedule a meeting between Harry
Winston and amfAR to sign the contract and start discussing event planning topics.

40, Kutzer’s February 14 email identified ON’s continuing role in the
amfAR Partnership:

Optikal Noize, the creative agency for Harry Winston / The Swatch

Group / amfAR partnerhsip [sic], will remain your main contact and

will handle all details for this integration. I would like to discuss with

you an agency fee which includes covering our costs for travels

expenses and our services for the duration of this partnership. We

Optikal Noize, Inc. v. Harry Winston, Inc. ef al. -§-
COMPLAINT

 

 
 

ATTORNEYS AT LAY

OBAGI LAW GROUP, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 28 of 42 Page ID #:32

oO So SN NHN tHe DR wD Oe

Ve NM HY NYY NY NY NY NP
eo 2 AH FF O©YH =| FS FCGa RZaAaaE BH oS

 

 

would look at a 5% commission from amfAR should this agreement

gets signed, let's discuss. However, as I have stated to you before, we

are open to discussing a number that works well! for us both as we are

excited and looking forward to forging a new relationship with

amfAR to benefit all involved.

41,  Kutzer confirmed over a telephone call with Bose that the ON
commission rate would be 15% of the deal, not 5%, as was mistakenly cited in the
email, At no point did Bose dispute, either over the telephone or via email, that

amfAR would pay ON a commission fee,

42. From late February to early March 2014, ON and amfAR exchanged
multiple emails to plan a meeting to continue brainstorming Harry Winston
sponsorship possibilities, with key figures from both ON and amfAR attending. The
meeting was scheduled for March 18 2014: however, that meeting was cancelled.

43, At all relevant times, orally, in writing, and by their conduct, the

Defendants held themselves out in a manner that they were acting in good faith and

 

complying with the terms of their respective agreements with ON.

44, On or about March 27, 2014, ON learned that AAB and amfAR had
engaged in direct sponsorship and partnership negotiations with Harry Winston,

45. On or about April 8, 2014, amfAR cancelled a meeting with ON,
stating that the meeting would be postponed until the GGF Partnership between
Harry Winston and GGF was resolved. But Harry Winston and ON’s agreement

relative to the amfAR. sponsorship opportunity was not conditions on any other

 

matters precedent or subsequent — except for the consummation of a Harry Winston-
amfAR partnership.

46, In January 2015, Forbes reported that Harry Winston announced a
milestone $53 million partnership with amfAR, an agreement that represented the
single largest corporate partnership in amfAR’s history.

Optikal Noize, tno v. Harry Winston, Inc, et al. -9-
COMPLAINT

 

 

 

 
 

OBAGI LAW GROUP, P.C.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 29 of 42 Page ID #:33

Oo eo NN HR UR UBOUND Oe

MBN NY NM wD
eu a & ESOS HERES RWRERZERTERBAS

 

 

47, ON has corresponded with each of the Defendants in an attempt to
collect on its consulting fees with respect to the amfAR Partnership, but all the
Defendants have refused to pay ON their financial obligation to it,

V. FIRST CAUSE OF ACTION FOR BREACH OF EXPRESS ORAL AND
WRITTEN CONTRACT
(Plaintiff v. AAB, amfAR, and Does 1-100, inclusive)

48, Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs,

49, The NDA is a written contract which ON entered into with AAB and
amfAR on October 2, 2013, Andrew Boose signed the NDA on behalf of both AAB
and amfAR, per Shameek Bose’s request to have ON work through AAB regarding
potential business opportunities with amfAR.

50. The NDA explicitly noted in the opening paragraphs that the agreement
was being created in order for ON to introduce a potential sponsor to AAB for
amfAR galas and events.

51. The NDA required, among other things, that AAB, on its own behalf
and impliedly on amfAR’s behalf since it was acting as amfAR’s event production
agent, would not solicit or accept any business from ON’s source or source
“Affiliates” without ON’s express written authorization. AAB agreed not to share
the contact information of ON’s source with third parties or correspond with the
source.

52, Further, under ¥ I.D of the NDA, AAB agreed that, unless AAB had a
pre-existing relationship with the source, or unless ON gave prior written
authorization, AAB would not to seek to enter into a “business transaction with the
source, that has been provided by ON to this agreement” and AAB also agreed “not
to make use of a third party to circumvent this clause.”

53. Under J LE of the NDA, if AAB circumvented the NDA, whether

directly or indirectly, then ON would be entitled to its maximum service fee, plus all

Optikal Noize, Ino, vy. Harry Winston, Ine, ef al. -10-
COMPLAINT

 

 

 
 

OBAGI Law Group, PC.

Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 30 of 42 Page ID #:34

—

oO Ba NA | BSB WD 1b

Yb NH DH BH WH bw
eu a & FOB UN SSGCE RARER EBS AS

 

 

expenses. Although the NDA did not establish ON’s exact commission, AAB
agreed under { I.F of the NDA that ON would be owed a commission, which the
parties would agree to on a case-by-case basis,

54, ON subsequently orally agreed with both AAB and amfAR that ON
would provide sources and opportunities for sponsorships and partnerships of
various amfAR fundraising events. In exchange, ON’s consulting services would be
paid via commission. The commission was not a fixed amount, but rather was a
contingent fee equaling 15% of the value of any deal between amfAR/AAB and
another sponsoring party. Since the commission was contingent, it would be paid
only on entry to a partnership or sponsorship deal by amfAR/AAB and a third party.

55. The fact ON would receive a consulting commission fee was
acknowledged by amfAR. On October 15, 2013, Bose advised via email that, once
ON could confirm the partnership with Harry Winston, “we can discuss any
commissions,” Then, on February 14, 2014, Kutzer and Bose confirmed that ON
would receive a fifteen percent commission on the deal with Harry Winston, which
at that time was valued at 1.25 million dollars.

56. ON performed all duties required of it under the NDA and oral contract
between AAB and amfAR, and neither of the Defendants were excused from
performing their contractual obligations.

57. ON’s duties consisted of providing consulting services and mutual
beneficial business opportunities to AAB and amfAR, including by introducing
Harry Winston as a lead, In reliance on the covenants made by AAB and amfAR in
the NDA and in subsequent conversations, ON revealed Harry Winston as a
proposed sponsor for amfAR events in 2013 and beyond, laying the groundwork for
what all parties hoped would become a long-term partnership.

58. The information that ON disclosed was highly confidential and
proprietary, in that it included, among other things, specific deal leads and

Optikal Notze, Ine. v. Harry Wiastou, Ine. ef al, “Hl.
COMPLAINT

 

 

 
 

OBAGI Law-Group, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 31o0f42 Page ID #:35

Oo So SF HR WD SF WH PO we

Nu NY NHN NY YH WH roy —
esa G2RSORSRE SSSR RREESBHRE AS

 

 

opportunities that were not known to the general public, Neither AAB nor amfAR
identified that they had a prior existing relationship with Harry Winston.

59. ON took all reasonable and prudent precautions, including by the
execution of the NDA, to keep confidential information regarding its sources secret
and protect this information from unauthorized use,

60. Defendants AAB and amfAR breached their obligations under the
NDA and oral contract by engaging directly in negotiations with Harry Winston,
and then agteeing to a 53 million dollar partnership, all without ON’s prior written
authorization or payment to ON. Without ON’s services, neither AAB nor amfAR
would have been aware of or able to procure this partnership with Harry Winston,

61. ON’s consulting fee, based on a fifteen percent commission of the
ultimate deal, would be 7.95 million dollars, or fifteen percent of 53 million dollars.
However, AAB and amfAR have refused to pay ON anything for its services,
instead insisting that Harry Winston owed ON its entire fee.

62, No amount of reasonable protections could have prevented the
Defendants’ breaches of the NDA and oral agreements, which were willful and
deliberate, and in utter and conscious disregard of the contractual terms and ON’s
rights, |

63. Because of the breaches by AAB and amfAR of their NDA and oral
agreements with ON, ON has been injured as a consequence of the fact that ON’s
trade secrets and information have been used without ON’s consent and without
compensation,

64. As a direct result of the Defendants’ breaches of the NDA and oral
contract, ON has been damaged in an amount to be determined at trial, but believed

to exceed 7.95 million dollars between AAB and amfAR collectively, together with

interest thereon,

Opttkal Noize, Inc. v. Harry Winston, due, etal. -12-
COMPLAINT

 

 
 

UP, RC.

RO

ATTORNEYS AT LAW

OBAGI Law G

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 32 of 42 Page ID #:36

oOo S&S NN wt B&H hE

YN MY NM NM NN Bw
eu AGAR OR FFE S RAGES RB SS

 

 

VI, SECOND CAUSE OF ACTION FOR BREACH OF EXPRESS ORAL
CONTRACT
(Plaintiff v. Harry Winston, and Does 1-100, inclusive)

65, Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs,

66, ON and Hatry Winston initially met over the phone in approximately
September 2013, and on September 29, 2013, Epao sent an email to Ghalayani
containing, among other things, information regarding a potential sponsorship with
amfAR.

67. Ghalayini sent an email. to Epao on October 1, 2013 indicating that
Harry Winston was interested in being the exclusive jewelry and watch sponsor for
select amfAR events, and ON executed the NDA with AAB/amfAR the next day.

68. During these conversations, and in ensuing discussions, ON and Harry
Winston orally agreed that ON would locate high-profile event sponsorship
opportunities for Harry Winston in exchange for a consulting fee of ten percent of a
consummated deal. This oral agreement is shown by the writings and conduct of the
parties.

69, ON’s consulting services included introducing, creating, and fostering a
business relationship between Harry Winston and AAB/amfAR. ON was also the
main contact for handling Harry Winston’s brand integration into any gala or event
that Harry Winston decided to pursue. The parties orally agreed that ON would
serve in this intermediary role before, during, and after each event, and that Harry
Winston would not independently communicate with the host organization,

70, The consulting fee was a ten percent commission contingent on a
successful deal. If ON had been unable to consummate a sponsorship or partnership
between Harry Winston and AAB/amfAR, then ON would have no claim to any fee.

71, ON performed the responsibilities required of it under this agreement,

and Harry Winston was not excused from performing their obligations. However,

Optikal Noize, Inc. vy, Harry Winston, due, et al, -13-
" COMPLAINT

 

 
 

OBAGI LAW GROUR, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 33 0f 42 Page ID #:37

uo oN ODN OR OR WD RD

Nv Be NY NY NY NY NY YP Ye Ke bee mh

 

 

subsequent to ON’s performance per their agreement, Harry Winston has used the
controversy surrounding the GGF Partnership as a pretense for circumventing ON
relative to the amfAR Partnership.

72, Without ON’s services, Harry Winston would not have been aware of
or able to procure a partnership with AAB/amfAR.

73. Harry Winston breached its obligations under the oral contract with ON
by engaging directly in negotiations with AAB and amfAR, and then agreeing to a
53 million dollar partnership, all without ON’s prior written authorization or
payment to ON.

74, This partnership came after ON had sent a similar but smaller proposal
of 1.25 million dollars to amfAR on behalf of Harry Winston. In short, Harry
Winston did consummate a deal with AAB/amfAR, but did so behind ON’s back
and in direct contravention of the contract the parties had agreed to.

75, Because of Harry Winston’s breaches, ON has been injured as a
consequence of the fact that ON’s trade secrets and information have been used
without ON’s consent and without compensation.

76, No amount of reasonable protections could have prevented Harry
Winston’s breaches of its oral agreement with ON, which was willful and deliberate,
and in utter and conscious disregard of the contractual terms and ON’s rights.

77. ON’s consulting fee, based on a ten percent commission of the amfAR
Partnership, is 5.3 million dollars, or ten percent of 53 million dollars. Despite
ON’s demands, Harry Winston has refused to pay ON anything for its services.

78. Asa direct result of Harry Winston’s breaches, ON has been damaged

in an amount to be determined at trial, but believed to exceed 5.3 million dollars,

together with interest thereon.

Optikal Noize, Ine. vy. Harry Winston, Inc. et al. -14-
COMPLAINT

 

 
 

P; PC.

“AFIORNEYS AT LAW

OBAGI Law GROU

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 34 of 42 Page ID #:38

oO S&S YN DN A BSB WH PO

wh NY NY YY NN —
ea 2 Ae SF ON FHF FS CaO VADER SEPA S

 

 

VIL. THIRD CAUSE OF ACTION FOR BREACH OF IMPLIED-IN-FACT
CONTRACT
(Plaintiff y. Harry Winston, and Does 1-100, inclusive)

79, Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs,

80. In performing the acts and engaging in the conduct of agreeing ON
would not be circumvented and would be paid for its role in the Harry Winston-
amfAR partnership, as described above, ON and Harry Winston manifested an
intention to enter into an agreement whereby ON would provide creative consulting
services, and Harry Winston would pay a commission fee if and when a deal was
completed,

81. Such acts and conduct included, but were not limited to: Epao advising
Harry Winston multiple times via emai! that ON’s fee was ten percent of the final
deal’s budget; the parties’ discussion of payment structuring and terms; and Harry
Winston’s payment of ON’s ten percent fee in the GGF Partnership, which was a
similar gala sponsorship deal.

82. Harry Winston performed these acts and conduct with the intent to
manifest its intention to form an agreement with ON, who understood said intent
and acted with its own intent to enter into the agreement,

83, Atno time did Harry Winston conclusively manifest an intent to ON
that it intended to break the agreement, until its betrayal of ON, as alleged above.

84. The fact Harry Winston paid ON its ten percent consulting fee in
connection with the GGF Partnership shows a course of conduct between the parties
and Harry Winston’s understanding that ON earned its consulting fee via
commission on closed deals.

85, This conduct created an implied-in-fact agreement because the parties,
by their words, intentions, and actions, knew or should have known that the other

party would interpret future conduct as an agreement whereby ON would provide

Optikal Noize, Inc. v. Harry Winston, Ine. et al. ~]5-
COMPLAINT

 
 

OBAGI LAW GROUP, PC.

ATTORNEYS AT LAW

Case 8:16-cv-01599 Document 1-1 Filed 08/30/16 Page 35o0f42 Page ID #:39

—

Oo 72 NI NAN WH FR WY LP

YN NY NY ND bw
eu aA &S FS BODSNSsCsS RT aRBESEHE Te

 

 

services to Harry Winston, in exchange for a commission based on business
opportunities that were presented, pursued, and consummated,

86. ON performed the responsibilities required of it under this agreement,
and Harry Winston was not excused from performing their obligations. However,
subsequent to ON’s performance per their agreement, Harry Winston has used the
controversy surrounding the GGF Partnership as a pretense for circumventing ON
relative to the amfAR Partnership,

87. Harry Winston breached its obligations to ON by engaging directly in
negotiations with AAB and amfAR, and then agreeing to a 53 million dollar
partnership, all without ON’s prior written authorization or payment to ON.

88. Because of Harry Winston’s breaches, ON has been injured as a
consequence of the fact that ON’s trade secrets and information have been used
without ON’s consent and without compensation.

89. No amount of reasonable protections could have prevented Harry
Winston’s breaches of its implied-in-fact contract with ON, which was willful and
deliberate, and in utter and conscious disregard of the terms and ON’s rights.

90, ON's consulting fee, based on a ten percent commission of the amfAR
Partnership, would be 5.3 million dollars, or ten percent of 53 million dollars.
Despite ON’s demands, Harry Winston has refused to pay ON anything for its

services,
91. Asa direct result of Harry Winston’s breaches, ON has been damaged

in an amount to be determined at trial, but believed to exceed 5.3 million dollars,

together with interest thereon.

Optikal Noize, Inc. v. Harry Winston, dne., et al, -16-
COMPLAINT

 

 
 

ATTORNEYS AT LAW

OBAGI LAW GROUP, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 36 of 42 Page ID #:40

SVE So HN DO A FR WD HY A

NY NHN NY NY WH NH WH
euagaans SBS XS Sa RriREFE BE rs

 

 

VIII. FOURTH CAUSE OF ACTION FOR INTENTIONAL
INTERFERENCE WITH PROSPECTIVE ECONOMIC RELATIONS
(Plaintiff vy. AAB, amfAR, and Does 1-100, inclusive)

92, Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs.

93. Asa result of the various agreements between the parties, including the
NDA, an economic relationship existed between ON and the Defendants relating to
the amfAR Partnership, which such prospective deal would probably have resulted
in an economic benefit to ON.

94, Since ON introduced Harry Winston and AAB/amfAR to each other
and since ON played a similar “matchmaking” and intermediary role with respect to
each party, the Defendants knew. of the existence of ON’s respective economic
relationship with the other Defendant(s), and ali Defendants were aware of the fact
ON would be obligated to be compensated for its services if Harry Winston and
amfAR agreed to a sponsorship or partnership, Through the NDA, emails, and
conversations in person and over the phone, the Defendants each represented that
they would not circumvent ON in any prospective deal of which ON provided them,
and would not cut ON out fiom its commission fee from said deal,

95, The Defendants nonetheless secretly communicated with each other
and formed the amfAR Partnership behind ON’s back. The Defendants designed
their wrongful conduct knowing it would circumvent ON’s role in the amfAR
Partnership, and intending and knowing that their prospective deal was certain or
substantially certain to inure to their exclusive benefit, and the harm of ON.

96, ON was harmed because its role in the amfAR Partnership was
disrupted; ON was cut out of its duly earned commission. The Defendants’
wrongful conduct was a substantial factor in causing ON’s harm.

97. Furthermore, the Defendants engaged in the above-described actions in

an oppressive, fraudulent, and malicious manner, Their conduct, therefore, warrants

Optikal Noize, Inc. v_ Harry Winston, ine., ef al. -17-
COMPLAINT

 

 
 

OBAGI LAW GROUP, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 37 of 42 Page ID #:41

Oo co ~~ A UA & WY RK &

YW NY PNY NY HN Dt = & =m
SQ AA FG HSH | FSF Ce Daiunksepoen8rs

 

 

the imposition and award of punitive damages.

IX. FIFTH CAUSE OF ACTION FOR NEGLIGENT INTERFERENCE
WITH PROSPECTIVE ECONOMIC RELATIONS
(Plaintiff v. AAB, amfAR, and Does 1-100, inclusive)

98, Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs.

99. As alleged above in the Fourth Cause of Action, ON was
simultaneously in an economic relationship with Harry Winston and with
AAB/amfAR, which relationships would have resulted in a commission fee to ON if
it was able to bring the parties together to form a sponsorship/partnership.

100, The Defendants, and each of them, knew or should have known of this
relationship, and knew or should have known that ON’s relationship would be
disrupted if Defendants, and each of them, failed to act with reasonable care,
including by acting behind ON’s back in communicating and agreeing to deals with
the other side.

101, The Defendants nonetheless secretly communicated with each other

and formed the amfAR Partnership behind ON’s back, a clear failure to act with

reasonable care.
102. ON was harmed because its role in the amfAR Partnership was

disrupted, and ON was cut out of its duly earned commission, The Defendants’

wrongful conduct was a substantial factor in causing ON’s harm,

Optikal Noize, Ine. v. Harry Winston, Inc. ef al, -18-
“COMPLAINT

 

 
 

« ATTORNEYS AT Law

OBAGI LAW GROUP, P.C.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 38 of 42 Page ID #:42

Oo SF NHN DA TT HR WO HB wo

NN YW NYY YY HHH & —
ey AH Fo S |§ SGeHe WADE BE IAS

 

 

X. SIXTH CAUSE OF ACTION FOR MISAPPROPRIATION OF TRADE
SECRETS (CAL. CIV. CODE § 3426 ET SEQ.) |
(Plaintiff vy, AAB, amfAR, and Does 1-100, inclusive)

103. Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs.

104, The Defendants misappropriated ON’s trade secrets by improper means
within the meaning of the California Uniform Trade Secrets Act, California Civil
Code section 3426 et seq. (“CUTSA”),

105. The information provided by ON to the Defendants included “trade
secrets” within the meaning of CUTSA, because ON’s deal leads and creative
consulting services regarding branding integration for high-end events constituted
information that was not generally known to the public.

106. The Defendants, and each of them, obtained such trade secrets from
ON by “improper means” within the meaning of CUTSA, including by
misrepresentation and breaching agreed-upon duties to maintain secrecy.

107. The Defendants, and each of them, engaged in “misappropriation”
within the meaning of CUTSA, because the Defendants each knew or had reason to
know that they were inducing ON to share its information and services with the
Defendants, with the expectation of being compensated in exchange.

108, The Defendants, and each of them, were unjustly enriched because
their misappropriation of ON’s trade secrets caused them to receive a benefit they,
and each of them, would not otherwise have achieved.

109. ON did not consent to this misappropriation.

110. ON has been harmed by each of said Defendants’ misappropriation of
trade secrets, and each of said Defendants’ conduct was a substantial factor in
causing ON’s harm, As a direct and proximate result of such misappropriation, ON
has suffered actual, special, incidental, and consequential damages, and is entitled to

restitution for said Defendants’ unjust enrichment, in an amount according to proof.

Ontikal Noize, Inc. v. Harry Winston, Inc. et al. -19.
COMPLAINT

 

 
UP, PC.

ATTORNEYS AY LAW

 

OBAGI LAW:GRO

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 39 of 42 Page ID #:43

—

Oo Oo NN HN DH BH Ww BF

Ny NY NY NHN NM NM BG NY
eu aa FF GSES Ga rwrWriaankrtaoansnzus

 

 

111, Furthermore, each of said Defendants engaged in the above-described
actions in a bad faith, oppressive, fraudulent and malicious manner. Their conduct,
therefore, warrants the imposition of punitive damages. |

XI. SEVENTH CAUSE OF ACTION FOR BREACH OF FIDUCIARY
ce DUTY cece eee
(Plaintiff vy. AAB, amfAR, and Does 1-100, inclusive)

112, Plaintiff hereby incorporates by reference and realleges each of the

wet

allegations set forth in the preceding paragraphs.

113. As alleged above, each of the Defendants voluntarily entered into
agreements with ON, including the NDA, contemplating that ON would provide
creative consulting services, including by introducing Harry Winston to
AAB/amfAR for purposes of establishing the amfAR Partnership, As parties to
these agreements, the Defendants engaged in a partnership with ON, because there
was the understanding that, in exchange for ON’s services, that ON would share a
petcentage of the value of any deal that closed between Harry Winston and
AAB/amfAR. As partners, the Defendants at all times owed ON the fiduciary duties
of disclosure, loyalty, and care.

114, Pursuant to such fiduciary duties, the Defendants were required to act
in the utmost good faith towards ON, and to act in the best interests of ON, By
virtue of this fiduciary relationship, ON reposed trust and confidence in the integrity
of the Defendants. ON provided no cause for the Defendants to act in any manner
inconsistent with this fiduciary relationship,

115. The Defendants intended to induce ON to rely on their fiduciary
relationship, and in reasonable reliance thereon, ON was induced to, and did

continue its fidelity to each of the Defendants, while working to foster a business

relationship between the parties,

Optikal Noize, Ince. v. Harry Winston, ine. et al, -20-
COMPLAINT

 
 

ATTORNEYS AT CARY

OBAGI LAW GROUP, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 40 of 42 Page ID #:44

—

oo oN DN A HR WH WW

So WO tO BF NYO HD NH WH os
eo 32a AR ORE STE RRARAGCEBREAS

 

 

116. The Defendants, and each of them, have breached their fiduciary duties,
including the duties of disclosure, loyalty, and care to ON by engaging in the acts
alleged above.

117. Asa direct and foreseeable result of these breaches of fiduciary duty by
the Defendants, ON has sustained damages in an amount according to proof, but
within the unlimited jurisdiction of this Court,

118. The aforementioned conduct was intended by the Defendants to deprive
ON of property and legal rights and otherwise cause injury, and was conduct that
continues to subject ON to cruel and unjust hardship and oppression in conscious
disregard of its rights. All of the Defendants’ conduct was ratified, approved, or
otherwise undertaken by a managing agent so as to justify the imposition and award
of punitive damages.

XI. EIGHTH CAUSE OF ACTION FOR RESTITUTION/ UNJUST
ENRICHMENT.
(Plaintiff v. AAB, amfAR, and Does 1-100, inclusive)

119. Plaintiff hereby incorporates by reference and realleges each of the
allegations set forth in the preceding paragraphs.

120, The Defendants, and each of them, received and appreciated substantial
economic benefits from the opportunities and information disclosed to them by ON.

121. Specifically, Harry Winston sought ON’s services for purposes of
finding a sponsorship/partnership opportunity, and AAB/amfAR sought ON’s
services for purposes of finding a potential sponsor/partner for its international
galas, ON introduced the parties to each other and facilitated negotiations between
the parties, which led to the amfAR Partnership, which has provided and continues
to provide mutual benefits to Defendants.

122, However, the Defendants accepted and retained these benefits by
forming the amfAR Partnership behind ON’s back, after ON had done the “leg

work” of bringing the parties together and starting negotiations. As such, their

Optikal Noize, Inc, vy. Harry Winston, ine. et al. 21-
COMPLAINT

 
 

OBAGI Law GROUP, PC.

Case 8:16-cv-01599 Document1-1 Filed 08/30/16 Page 41 o0f 42 Page ID #:45

oO Se ST DA wD BRB WH HP &

bw N WN
SR GB BSBSRBSSERPRBEtERB rs

 

 

XIV. PRAYER FOR RELIEF
WHEREFORE, Plaintiff Optikal Noize, Inc. prays for judgment against all
Defendants, and each of them, according to proof as follows:

1. For damages for breach of contract according to proof, including
consequential damages proximately caused thereby, and restitution of
costs and expenses;

2. For special and compensatory damages in an amount according to
proof;

3. For exemplary damages acts constituting for fraud, malice or
oppression under the fourth, sixth and seventh causes of action

4. For an award of pre-judgment interest on sums certain; _

For attorneys’ fees, costs, and expenses in accordance with the terms of
the contract with AAB/amfAR referenced above, and/or as allowed by
law under statute;

6. For such other and further relief as the Court may deem necessary,
equitable, and appropriate.

PLAINTIFF HEREBY DEMANDS A JURY TRIAL.
Dated: August 1, 2016 OBAGI L

  

  

for Plaintiff
NOIZE, INC,

   

 
~

Case 8:16-cv-01599 Document1-1 Filed 08/30/16

: “
es “a Le
rma, of ‘

Page 42 of 42 Page ID #:46

CM-010

 

ATTORNEY OR PARTY WiTHOUT ATIOANEY (M7, te 8. ber, arxd adovoss):
Zeln B, Obant ir, tate Bar No. Soyo} mand across)

Obagi Law Group, P.C.
433 North Camden Drive Suite 400
Beverly Hills CA 90210
Teceprone No. 424 284 240]
ATTORNEY FOR jvamoy: Optikal Noize, Inc.

raxno: 310.734.1814

FOR COURT USE ONLY

CONFORMED COPY
ORIGINAL FILED
Superior Court of Calltornia
Counlv of Los Anonles

 

SUPERIOR GOURT OF CALIFORNIA, COUNTY OF Los Angeles

 

 

 

srreeraooness: |] 1 N, Hill St. AUG 012016
MAILING ADDRESS:
ciryanozip cove: Los Angeles CA 90012 sherri &. Garter, Exovutive Ollicer/Gterk
QRANCH NAME: By: Jud Lara, Nepuly
CASE NAME:
Optikal Noize, Inc. v. AAB Productions, Inc., et al.
CIVIL CASE COVER SHEET Complex Case Designation CASE NUIABER ;
(
LZ) uniimited C_] Limited [] counter [7] Joinder C 6 é J 0 9 §
(Amount (Amount JUDGE:
demanded demanded Is Filed wilh first appearance by defendant
exceeds $26,000) $25,000 or less) (Cal, Rules of Court, rule 3.402) OEPT:

 

 

 

items 1-6 below must be completed (sae instructions on page 2).

 

ri. Check one box below for the case type that best dascribes this case;

Auto Tort Contract

= Aula (22) Broach of contraclwarranty (08)
Uninsused motorist (48) Rule 3.740 collections (09)

Other PIPDAWD (Personal Injury/Proparty | Oller coltectlons (09)

DamageMWrongful Death) Tort {nsurance coverage (18)
Asbestos (04) Other contract (37)
Product fabllily (24) Real Propesty
Magical malpractice (45) Eminent domalninverse

Olhar PI/PDAWD (23) condemnation (14)
Nan-PIPDAWD (Other) Tort [_] Wrongfut eviction (33)
[-] Business torvunfair business practice (07) (J other real property (26)
(_] cri rights (08) Unlawful Detalner
[—} Defamation (13) Commercial (31)
CJ} Fraud (16) Restdentlal (32)
| Intellectual property (19) Drugs (38)

Professtonal nagiigence (25) Judiclal Roviow

Asaat forfalture (05)
Palition ra: arbilrallon award (11)
Writ of mandate (02)

[_] other judictal raview (39)

Other non-PHPD/WO tort (35)

Employment
[4 Wrongful termination (38)

C] Other employment (15)

 

Provisionally Complex Clvli Litigation
(Cal, Rules of Court, rules 3.400-3.409)

| AntitrusTrada regulation (03)
C_] Construction defect (10)
Mass tort (40)
{_] Securiiles litigatlon (28)
Environmental/Toxle lort (30)

Insurance coverage clalms arlsing from the
above listed provisionally complex case

types (41)
Enforcement of Judgment

Enforcement of Judgment (20)
Miscoltanoous Clvil Complaint
[1 rico (27)

Other complaint (not specified abova) (42)
Miscellanoous Clylt Petition

Partnership and corporate governance (21)
{__] other potition (not specitied ebove) (43)

 

 

2, Thiscase L_Jts Ly isnot

factors requiring exceptional judicial management:
at_l Larga number of separately represented partles

b.-] Extensive motion practice ralsing difficult or novel
issues that will be time-consuming to resolve
c. [_] Substantial amount of documentary evidence

3, Remedies sought (check all that apply): a.) monetary b.[__] nonmonetary; declarat

4, Number of causes of actlon (specify): 9
5. Thiscase [_] ts isnot aclass action sult.
6. Ifthere are any known related cases, file and serve a notice of relaled case,

Date: 08/01/2016
Zein E. Obagi, Jr.

{TYPE OR PRINT RAME)
NOTICE
© Plaintiff must file this cover sheet wilh the first paper filed In the actlon or proceadi

in ganctlons,
* File this cover sheet in addillon to any cover sheet required by focal court rule.

® Ifthis case Is complex undar rule 3.400 et seq. of the California Rules of Court, yo
. other partiss to the action or proceeding.

 

Form Adapted for Mandatory Ute CIVIL CASE COVER SHEET

CD10 (Rev. July 1, 2007]

complex under rule 3.400 of the California Rules of Court, Hf the case is complex, mark the

d._] Large number of witnesses

8. (J Coordination with refaled actlons pending In one or more cours
in other counties, states, or countries, of In a federal court

f. CJ Substantlel postJudgment Judicial supervision

  
 
 
   

(except small claims dases or cases filad

under the Probate Code, Family Code, or Welfare and Institutions Code), (Cal. Ryles of Court, rule 3.220.) Fallure to file may result

must serve a copy of this cover sheet on all

« Unless this is a collections case under rule 3.740 or & complex case, this cover sheet will be used for stailstical purposes only. stot

Cal, Rutas of Court, ras 2.50, 9.220, 3.400-3.403, 3.740,
Cal, Slandurds of Judiial Adminisvalion, sid. 2.10
Wy. courinio.ca.gov

 
